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     In The United States Court of Federal Claims
                                              No. 11-570 C

                                        (Filed: September 9, 2011)
                                                __________

  CRASSOCIATES, INC,

                           Plaintiff,
            v.

  THE UNITED STATES,

                            Defendant,

            and

  SPECTRUM HEALTHCARE RESOURCES,
  INC.,
                  Defendant-Intervenor.


                                                __________

                                                 ORDER
                                                __________

        On September 9, 2011, a telephonic status conference was held in this case. Participating
in the conference were Kenneth B. Weckstein, for plaintiff, Michael Goodman, for defendant,
and Amy L. O’Sullivan, for defendant-intervenor. Pursuant to discussions during the
conference, the court adopts the following schedule:

       1.         On or before September 14, 2011, defendant shall file the
                  administrative record on CD-ROM, and shall effectuate service to
                  all parties;

       2.         On or before October 4, 2011, plaintiff shall file its motion for
                  judgment on the administrative record;

       3.         On or before October 24, 2011, defendant shall file its cross-
                  motion for judgment on the administrative record and response to
                  plaintiff’s motion;
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4.       On or before November 7, 2011, plaintiff shall file its reply to its
         motion and response to defendant’s cross motion;

5.       On or before November 18, 2011, defendant shall file its reply in
         support of its cross-motion;

6.       Oral argument on these motions for judgment on the administrative record will be
         held on November 29, 2011, at 10:00 a.m. (EDT) at the United States Court of
         Federal Claims, National Courts Building, 717 Madison Place, N.W.,
         Washington, D.C. 20005. The courtroom location will be posted in the lobby on
         the day of the oral argument; and

7.       All briefing deadlines applicable to defendant shall apply likewise to defendant-
         intervenor.

IT IS SO ORDERED.




                                                s/ Francis M. Allegra
                                                Francis M. Allegra
                                                Judge




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